      Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                            OCT 152024
                                SAN ANTONIO DIVISION
                                                                                CLERK, U S. DiSTRICT COURT

                                                                                 BY___
                                                                                WESTERN DITRICTOF TEXAS

                                                                                                      iu r
MARK ANTHONY ORTEGA                                               Case No. SA-24-CV-00769-XR

                            Plaintifi

              V.



CARLOS HERRERA and FUNDCUBE INC.
D/B/A FUNDQUBE,


                            Defendants.

                                        PROOF OF SERVICE

       I, Mark Anthony Ortega, Plaintiff in the above-entitled action, declare under penalty of

perjury under the laws of the United States of America that the following is true and correct:

       On September 3, 2024, pursuant to the Court's Order Granting Motion for Alternative

Service (ECF No. 7), which states,

       "Plaintiff is also DIRECTED to send a copy of the Summons, First Amended
       Complaint, and this Order by certified mail to 1207 13th ST, Imperial Beach, CA
       91932,"

       I mailed a true and correct copy of the Summons, First Amended Complaint, and Order for

Alternate Service to the following parties by Certified Mail with Electronic Delivery Confirmation,

addressed as follows:

       Carlos Herrera
       1207 13th St.
       Imperial Beach, CA 91932

       FundCube, Inc.
       DTB/A Fundqube
        1207 13th St.
       Imperial Beach, CA 91932
     Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 2 of 13




Copies of the certified mail delivery receipts are attached hereto as
                                                                        Exhibits 1 and 2.
I declare under penalty of perjury that the foregoing is true and
                                                                    correct.



Dated: September _____, 2024                         Respectfully submitted,

                                                     Mark Anthony Ortega




                                                     mortegautexas.edu
                                                     P0 Box 702099
                                                     SanAntonio, TX 78270
                                                     Telephone: (210) 744-9663
Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 3 of 13




                       EXHIBIT 1
               Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 4 of 13

                                         Electronic Delivery Confirmation



                                                                                          a


  Mark Anthony Ortega                                                                                   $7.16          US POSTAGE
  P0 BOX 702099                                                                                         FIRST-CLASS
  SAN ANTONIO TX 78270-2099                                                                             Sep 032024
                                                                                                            Mailed from ZIP 97230
                                                                                                        4 OZ FIRSTCLASS MAIL FLATS RATE
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                                                   USPS CERTIFIED MAIL                                      11923275
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                                              9407 1118 98765489703621
                                        FundCube Inc
                                        D/B/A Fundqube
                                        1207 13TH ST
                                        IMPERIAL BCH CA 91932-3610
                                        IIIII.IIIIIIlIpIllIIIIIIIIIIlIulIIllIIIlIIljtIlI,IIIIIIIIIIIIII,I



Reference
uSPS#                                      9407111898765489703621
USPS Mail Class                            Certified with Electronic Delivery Confirmation
USPS Status                                Your item was delivered to an individual at the address at 1024 am on
                                           September 9, 2024 in IMPERIAL BEACH, CA 91932
USPS History                               In Transit to Next Facility, 09/07/2024
                                           Arrived at USPS Regional Destination Facility, 09/06/2024, 6:03 pm, SAN
                                           DIEGO CA DISTRIBUTION CENTER
                                           Arrived at USPS Origin Facility, 09/05/2024, 2:07 am, PORTLAND, OR
                                           97215
                                           Accepted at USPS Origin Facility, September 5, 2024, 12:52 am,
                                           PORTLAND, OR 97230
                                           Shipping Label Created, USPS Awaiting Item, 09/03/2024, 4:13 pm,
                                           PORTLAND, OR 97230




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Date Verified: 09/10/2024 06:40:40 (UTC)
Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 5 of 13




                       EXhIBIT 2
               Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 6 of 13

                                         Electronic Delivery Confirmation



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 Mark Anthony Ortega                                                                                    $7.16       US POSTAGE
 P0 BOX 702099                                                                                          FIRST-CLASS
 SAN ANTONIO TX 78270-2099                                                                              Sep03 2024
                                                                                                        Mailed from ZIP 97230
                                                                                                        4 OZ FIRST-CLASS MAIL FLATS RATE
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                                        Carlos Herrera
                                        1207 13TH ST
                                        IMPERIAL BCH CA 91932-3610
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Reference
USPS #                                    9407111898765489709166
USPS Mail Class                           Certified with Electronic Delivery Confirmation
USPS Status                               Your Item was delivered to an individual at the address at 1024 am on
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USPS History                              In Transit to Next Facility, 09/07/2024
                                          Arrived at USPS Regional Destination Facility, 09/06/2024, 6:03 pm, SAN
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                                          Arrived at USPS Origin Facility, 09/05/2024, 2:07 am, PORTLAND, OR
                                          97215
                                          Accepted at USPS Origin Facility, September 5, 2024, 12:52 am,
                                          PORTLAND, OR 97230
                                          Shipping Label Created, USPS Awaiting Item, 09/03/2024, 4:11 pm,
                                          PORTLAND, OR 97230




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Date Verified: 09/10/2024 06:40:59 (UTC)
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                       UNITED STATES DISTRICT COURT
                                           for the
                      WESTERN DISTRICT OF TEXAS, SAN ANTONIO DIVISION


              MARK ANTHONY ORTEGA
                           Plaint,ff



                                V.
                                                                     Civil Action No. 5:24-CV-00769-XR

 CARLOS HERRERA AND FUNDCUBE INC. DIB/A
                       FUNDQUBE,

                          Defendant



                                        AFFIDAVIT OF SERVICE

I, Rosangela Castillo, state:

I am not a party to or interested in the outcome of this suit.

I received the following documents on September 24, 2024, at 4:26 pm. I delivered these documents to
FundQube Inc. in San Diego County, CA on September 25, 2024 at 9:31 am at 1207 13th Street, Imperial
Beach, CA 91932 by posting the documents in a conspicuous place at the premises.

Order for Alternative Service
Summons
Amended Complaint
Cover Sheet

Additional Description:
No answer at the door, no cars in the driveway either. Documents got posted on the property gate.

Geolocation of Serve: https://google.com/maps?q=32.5746883439,-117.1055336245
Photograph: See Exhibit 1

My name is Rosangela Castillo, my date of birth is 7/22/1999, and my address is 470 Third Aye, 5, Chula
Vista, CA 91910, and USA.




Proof Job #681054                                5:24-CV-00769-XR                                   Page 1
              Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 8 of 13




I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.


Executed in
                                                Rosangela Castillo
   San Diego County                             +1(619) 904-1002
                                                Certification Number: 3669
  CA          on    9/27/2024
                                                Expiration Date: 3/13/2025




Proof Job #681054                        5:24-CV-00769-XR                    Page 2
            Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 9 of 13



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Proof Job #681054                      5:24-CV-00769-XR                    Page 3
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                      UNITED STATES DISTRICT COURT
                                           for the
                      WESTERN DISTRICT OF TEXAS, SAN ANTONIO DIVISION


              MARK ANTHONY ORTEGA
                           Plaint ff



                                V.
                                                                     Civil Action No. 5:24-CV-00769-XR

 CARLOS HERRERA AND FUNDCUBE INC. DIB/A
                       FUNDQUBE,

                          Defendant



                                        AFFIDAVIT OF SERVICE

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I am not a party to or interested in the outcome of this suit.

I received the following documents on September 24, 2024, at 4:26 pm. I delivered these documents to
Carlos Herrera in San Diego County, CA on September 25, 2024 at 9:33 am at 1207 13th Street, Imperial
Beach, CA 91932 by posting the documents in a conspicuous place at the premises.

Order for Alternative Service
Summons
Amended Complaint
Cover Sheet

Additional Description:
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Geolocation of Serve: https://google.com/maps?q=32.5746754897,- 117.1055171357
Photograph: See Exhibit 1

My name is Rosangela Castillo, my date of birth is 7/22/1999, and my address is 470 Third Aye, 5, Chula
Vista, CA 91910, and USA.




Proof Job #681053                                5:24-CV-00769-XR                                    Page 1
            Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 11 of 13



I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE ANT) CORRECT.



Executed in
                                              Rosangela Castillo
   San Diego County                           +1(619) 904-1002
                                              Certification Number: 3669
   CA         on    9/27/2024
                                              Expiration Date: 3/13/2025




Proof Job #681053                      5:24-CV-00769-XR                     Page 2
Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 12 of 13
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                       SanAntonio,Texas78207             "        -


                                                  '1
        1-400 Room Street, Nueva West 262
                   Office Clerk's District U.S.

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                                                                                                          Case 5:24-cv-00769-XR Document 8 Filed 10/15/24 Page 13 of 13




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